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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

Rose E.T. DeGroat and Cadji Ferguson,

                                Plaintiff,

v.

                                                                         3:22-CV-507
                                                                         (LEK/ML)
Benjamin Buck, Zachary Dorn, George DuPay, and
Gregory Herz,

                        Defendants.
____________________________________________

MIROSLAV LOVRIC, United States Magistrate Judge

                                                ORDER

        Defendants, Benjamin Buck, Zachary Dorn, George DuPay and Gregory Herz,

(“Defendants”) are jointly represented in this case by the same counsel. In addition to counsel’s

ethical obligation to inform each client of the potential adverse consequences of joint

representation, this Court has a continuing obligation to supervise the bar and assure litigants a

fair trial. See Dunton v. County of Suffolk, State of N.Y., 729 F.2d 903, 908-09 (2d Cir. 1984).

        ACCORDINGLY, it is

        ORDERED that counsel for Defendants shall send a letter to or have a detailed

conversation with each of their individual clients in this action (a) outlining the circumstances

under which an actual or potential conflict of interest may arise, including but not limited to

those implicated by Canons 5 and 9 of The Lawyer's Code of Professional Responsibility, as

adopted by the Northern District of New York (N.D.N.Y. L.R. 83.3(d)), and (b) advising whether

counsel plans to take a position adverse to that client's interests at trial; and it is further
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        ORDERED that after being informed of the potential or actual conflict, (a) if any client

wishes to retain separate counsel, they will be given leave to promptly and expeditiously do so,

in which case new counsel shall submit a Notice of Appearance to this Court, or (b) alternatively,

in the event that any individual client wishes to proceed while being represented by current

defense counsel, I will require additional assurance that the client has made an informed decision

to do so, notwithstanding the potential for conflict, which must be in the form of a sworn

affidavit from the client submitted EX PARTE on or before October 31, 2023, (i)

acknowledging that he or she has been given written or detailed oral notice by counsel of the

potential for conflict, (ii) acknowledging that he or she understands the potential conflict and its

ramifications, and (iii) stating that he or she has knowingly and voluntarily chosen to proceed

with joint representation1; and it is further

        ORDERED that a client/party who consents to joint representation will not be deemed to

have waived his or her right to retain separate counsel.2

Dated: September 7, 2023
       Binghamton, New York


                                                      ________________________________
                                                      MIROSLAV LOVRIC
                                                      U.S. MAGISTRATE JUDGE
                                                      N.D.N.Y.



1
        The affidavits shall also include a cover letter from counsel summarizing the position of
the attached affidavit(s).
2
        However, no extension of deadlines established in the Uniform Pretrial Scheduling Order
or of the trial date will be granted because of any substitution of counsel, unless a party
establishes that the substitution resulted from a conflict of interest which could not reasonably
have been foreseen when that party filed his or her affidavit agreeing to joint representation and
that the party promptly proceeded to obtain separate counsel upon learning of the conflict of
interest.

                                                  2
